Case 2:97-cr-20120-.]PI\/| Document 47 Filed 07/29/05 Page 1 of 2 Page|D 54

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UNITED STATES DISTRICT COURT

 

Western Dism`ct Of Tennessee 05 JUL 29 PH l ‘ 25
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United states of America om)ER HoLr)ING PRoBAltt'loi\i R"` "p §§UH "T
FOR REVOCATION HEARING
V.
NAPOLEON FROST Case Number: 96-20173-M1
97-20120-Ml

 

On July 29, 2005 , the defendant appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. At this hearing, the defendant WAIVED
her right to a preliminary hearing Tony Arvin , AUSA, representing the government, and L.
Daniel Johnson, defense attorney, representing the defendant, were present.

Accordingly, the defendant is held to a final revocation hearing before Judge McCalla. It
is presumed that the United States District Court will set this matter for a revocation hearing
pursuant to Federal Rule of Criminal Procedure 32. l(a)(Z), and will see that appropriate notices

are given The defendant is remanded to the custody of the United States Marshal.

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United States Magz`slrate Judge

Dare.- ' 53 , 2005

Thls document entered on the docket sheet in compliance

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UNITED sTATE DRISTIC COURT - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:97-CR-20120 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

